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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-905V
                                      Filed: May 12, 2016
                                        UNPUBLISHED

****************************
S.R.,                                  *
                                       *
                   Petitioner,         *    Damages Decision Based on Proffer;
v.                                     *    Influenza;
                                       *    Shoulder Injury (“SIRVA”);
SECRETARY OF HEALTH                    *    Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                    *
                                       *
                   Respondent.         *
                                       *
****************************
Nancy Routh Meyers, Ward Black Law, P.A., Greensboro, NC, for petitioner.
Douglas Ross, U.S. Department of Justice, Washington, DC, for respondent.

                               DECISION AWARDING DAMAGES 1

Dorsey, Chief Special Master:

       On August 20, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she experienced a left shoulder injury as a result
of her October 1, 2012 influenza vaccination. Petition at 1-2. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

        On November 13, 2015, a ruling on entitlement was issued, finding petitioner
entitled to compensation for a shoulder injury related to vaccine administration
(“SIRVA”). On May 12, 2016, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $211,750.00. Proffer at 1. In the
Proffer, respondent represented that petitioner agrees with the proffered award. Based

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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on the record as a whole, the undersigned finds that petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $211,750.00 in the form of a check payable to
petitioner, S.R. This amount represents compensation for all damages that would be
available under § 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


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                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

************************** * *
                              *
                ,             *
                              *
              Petitioner,     *
                              *
v.                            *                              No. 15-905V (ECF)
                             *                               CHIEF SPECIAL MASTER
                              *                              NORA BETH DORSEY
SECRETARY OF HEALTH           *
AND HUMAN SERVICES,           *
                              *
              Respondent.     *
*****************************

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

        In her November 13, 2015 decision, the Chief Special Master found that a preponderance

of the medical evidence indicates that petitioner suffered a shoulder injury related to vaccine

administration (“SIRVA”), which was causally related to the flu vaccination she received on

October 1, 2012. The parties have now addressed the amount of compensation to be awarded in

this case.

I.      Items of Compensation

        Based upon the evidence of record, respondent proffers that petitioner should be awarded

a total lump sum of $211,750.00, which amount represents all elements of compensation to

which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.




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  Should petitioner die prior to entry of judgment, respondent would oppose any award for future
medical expenses, future lost earnings, and future pain and suffering, and the parties reserve the
right to move the Court for appropriate relief.
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II.    Form of the Award

       The parties recommend that the compensation provided to petitioner should be made

through a lump sum payment of $211,750.00 in the form of a check payable to petitioner.

Petitioner agrees.

                                           Respectfully submitted,

                                           BENJAMIN C. MIZER
                                           Principal Deputy Assistant Attorney General

                                           RUPA BHATTACHARYYA
                                           Director
                                           Torts Branch, Civil Division

                                           VINCENT J. MATANOSKI
                                           Deputy Director
                                           Torts Branch, Civil Division

                                           ALTHEA W. DAVIS
                                           Senior Trial Counsel
                                           Torts Branch, Civil Division

                                           /s/ DOUGLAS ROSS
                                           DOUGLAS ROSS
                                           Trial Attorney
                                           Torts Branch, Civil Division
                                           U.S. Department of Justice
                                           P.O. Box 146, Benjamin Franklin Station
                                           Washington, D.C. 20044-0146
                                           Tel.: (202) 616-3667

DATE: May 12, 2016




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